      Case 2:10-cr-00162-DAD Document 272 Filed 03/25/14 Page 1 of 1
                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,              Case No. 2:10cr162- 07 JAM

          Plaintiff,
     v.                                ORDER FOR RELEASE OF PERSON
                                       IN CUSTODY
CERJIO ARTURO ZEPEDA,

          Defendant.
___________________________/

TO: THE UNITED STATES MARSHAL SERVICE.

     This is to authorize and direct you to release

CERJIO ARTURO ZEPEDA, Case No. 2:10cr162-07 JAM, from custody for

the following reasons:

                       Release on Personal Recognizance

                       Bail Posted in the Sum of $

                       Unsecured Appearance Bond

          ___          Appearance Bond with 10% Deposit

                       Appearance Bond with Surety

          ___          Corporate Surety Bail Bond

           X           (Other): Defendant sentenced to time served on
                       March 25, 2014.

Issued at Sacramento, California on March 25, 2014 at 10:45            a.m.


                                        /s/ John A. Mendez
                                        John A. Mendez
                                        UNITED STATES DISTRICT JUDGE
